Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 1 of 20 - Page ID#: 434




                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                                 LONDON DIVISION

                                                                         NO. 6:06-CV-548 DCR

 WILLIAM HARRIS ASHER, et al.,

                        Plaintiffs,
 v.

 UNARCO MATERIAL HANDLING, INC.
 and ATLAS MATERIAL HANDLING, INC.,

                        Defendants.

 -----------------------------------

 ATLAS MATERIAL HANDLING, INC.,

                        Third-Party Plaintiff,

 v.

 RCI RACK CONVEYOR INSTALLATION, INC.

                        Third-Party Defendant.
 _____________________________________/

                                      AMENDED COMPLAINT

      Plaintiffs sue Defendants Unarco Material Handling, Inc. and Atlas Material Handling,

 Inc., and allege as follows:

                           PARTIES, JURISDICTION, AND VENUE

      1.    This is an action for damages in excess of the jurisdictional minimum of this Court.

      2.    Plaintiff William Harris Asher is, and was at times material herein, a resident of

 Rockholds, Kentucky, and over the age of majority.

      3.    Plaintiff Joshua Mills is, and was at times material herein, a resident of Flatlick,

 Kentucky, and over the age of majority.

      4.    Plaintiff Randall Sizemore is, and was at times material herein, a resident of Oneida,

 Kentucky, and over the age of majority. Plaintiff Rebecca Ann Sizemore is, and was at times
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 2 of 20 - Page ID#: 435




                                                                   CASE NO. 6:06-CV-548 DCR


 material herein, a resident of Oneida, Kentucky, over the age of majority, and the wife of

 Plaintiff Randall Sizemore.

      5.    Plaintiff Shade Deaton is, and was at times material herein, a resident of Lost Creek,

 Kentucky, and over the age of majority. Plaintiff Kelie Jean Deaton is, and was at times material

 herein, a resident of Lost Creek, Kentucky, over the age of majority, and the wife of Plaintiff

 Shade Deaton.

      6.    Plaintiff Toney Dye is, and was at times material herein, a resident of Pineville,

 Kentucky, and over the age of majority. Plaintiff Sheryl Markett Dye is, and was at times

 material herein, a resident of Pineville, Kentucky, over the age of majority, and the wife of

 Plaintiff Toney Dye.

      7.    Plaintiff Sammy Faris is, and was at times material herein, a resident of Corbin,

 Kentucky, and over the age of majority. Plaintiff Deborah Charlene Faris is, and was at times

 material herein, a resident of Corbin, Kentucky, over the age of majority, and the wife of

 Plaintiff Sammy Faris.

      8.    Plaintiff Chris Caudill is, and was at times material herein, a resident of London,

 Kentucky, and over the age of majority. Plaintiff Felicia Dawn Caudill is, and was at times

 material herein, a resident of London, Kentucky, over the age of majority, and the wife of

 Plaintiff Chris Caudill.

      9.    Plaintiff Charles Sanborn II is, and was at times material herein, a resident of

 Barbourville, Kentucky, and over the age of majority. Plaintiff Tamara Lynn Sanborn is, and was

 at times material herein, a resident of Barbourville, Kentucky, over the age of majority, and the




                                                2
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 3 of 20 - Page ID#: 436




                                                                    CASE NO. 6:06-CV-548 DCR


 wife of Plaintiff Charles Sanborn II.

      10.   Plaintiff Stephen Christopher Taylor is, and was at times material herein, a resident of

 Corbin, Kentucky, and over the age of majority. Plaintiff Andrea Taylor is, and was at times

 material herein, a resident of Corbin, Kentucky, over the age of majority, and the wife of

 Plaintiff Stephen Christopher Taylor.

      11. Plaintiff Donald Greg Wells is, and was at times material herein, a resident of

 London, Kentucky, and over the age of majority. Plaintiff Sherri Lorraine Wells is, and was at

 times material herein, a resident of London, Kentucky, over the age of majority, and the wife of

 Plaintiff Donald Greg Wells.

      12.   Plaintiff Joshua Caleb Stacy is, and was at times material herein, a resident of Corbin,

 Kentucky, and over the age of majority.

      13.   Plaintiff Jason Engle is, and was at times material herein, a resident of Gray,

 Kentucky, and over the age of majority. Plaintiff Yvette Mattie Engle is, and was at times

 material herein, a resident of Gray, Kentucky, over the age of majority, and the wife of Plaintiff

 Jason Engle.

      14.   Plaintiff Timothy Marcum is, and was at times material herein, a resident of Kay,

 Kentucky, and over the age of majority.

      15. Plaintiff David House is, and was at times material herein, a resident of London,

 Kentucky, and over the age of majority. Plaintiff Lana House is, and was at times material

 herein, a resident of London, Kentucky, over the age of majority, and the wife of Plaintiff David

 House.




                                                 3
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 4 of 20 - Page ID#: 437




                                                                   CASE NO. 6:06-CV-548 DCR


      16. Plaintiff Denver Pennington is, and was at times material herein, a resident of

 London, Kentucky, and over the age of majority.

      17.   Plaintiff David Pennington is, and was at times material herein, a resident of London,

 Kentucky, and over the age of majority. Plaintiff Cleta Pennington is, and was at times material

 herein, a resident of London, Kentucky, over the age of majority, and the wife of Plaintiff David

 Pennington.

      18. Plaintiff Stephen King is, and was at times material herein, a resident of London,

 Kentucky, and over the age of majority. Plaintiff Anna Rachelle McClure is, and was at times

 material herein, a resident of London, Kentucky, over the age of majority, and the wife of

 Plaintiff Stephen King.

      19. Plaintiff George Hibbard is, and was at times material herein, a resident of

 Manchester, Kentucky, and over the age of majority.

      20.   Plaintiff Ricky Trent is, and was at times material herein, a resident of Barbourville,

 Kentucky, and over the age of majority. Plaintiff Kathy Trent is, and was at times material

 herein, a resident of Barbourville, Kentucky, over the age of majority, and the wife of Plaintiff

 Ricky Trent.

      21.   Plaintiff Jeff Wagers is, and was at times material herein, a resident of Lily,

 Kentucky, and over the age of majority. Plaintiff Angela Marie Wagers is, and was at times

 material herein, a resident of Lily, Kentucky, over the age of majority, and the wife of Plaintiff

 Jeff Wagers.

      22.   Plaintiff Timothy Burns is, and was at times material herein, a resident of London,




                                                 4
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 5 of 20 - Page ID#: 438




                                                                       CASE NO. 6:06-CV-548 DCR


 Kentucky, and over the age of majority. Plaintiff Theresa Burns is, and was at times material

 herein, a resident of London, Kentucky, over the age of majority, and the wife of Plaintiff

 Timothy Burns.

         23.   Plaintiff Bobby Allen is, and was at times material herein, a resident of London,

 Kentucky, and over the age of majority. Plaintiff Tracy Allen is, and was at times material

 herein, a resident of London, Kentucky, over the age of majority, and the wife of Plaintiff Bobby

 Allen.

         24.   Plaintiff Justin Gomez is, and was at times material herein, a resident of Corbin,

 Kentucky, and over the age of majority.

         25.   Plaintiff James Helton is, and was at times material herein, a resident of Corbin,

 Kentucky, and over the age of majority.

         26.   Plaintiff Jamey Hill is, and was at times material herein, a resident of Corbin,

 Kentucky, and over the age of majority. Plaintiff Chrystal Kae Hill is, and was at times material

 herein, a resident of Corbin, Kentucky, over the age of majority, and the wife of Plaintiff Jamey

 Hill.

         27.   Plaintiff Clifford Robert Sage is, and was at times material herein, a resident of Lily,

 Kentucky, and over the age of majority. Plaintiff Kimberly Dawn Deerfield Sage is, and was at

 times material herein, a resident of Lily, Kentucky, over the age of majority, and the wife of

 Plaintiff Clifford Robert Sage.

         28.   Plaintiff Billy Rhodes is, and was at times material herein, a resident of Corbin,

 Kentucky, and over the age of majority. Plaintiff Jamie Rhodes is, and was at times material




                                                    5
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 6 of 20 - Page ID#: 439




                                                                   CASE NO. 6:06-CV-548 DCR


 herein, a resident of Corbin, Kentucky, over the age of majority, and the wife of Plaintiff Billy

 Rhodes.

      29.   Plaintiff Danny Pittman is, and was at times material herein, a resident of East

 Bernstadt, Kentucky, and over the age of majority.

      30. Plaintiff Gary Patterson is, and was at times material herein, a resident of Canon,

 Kentucky, and over the age of majority.

      31. Plaintiff Barry Lockard is, and was at times material herein, a resident of Corbin,

 Kentucky, and over the age of majority. Plaintiff Mildred Lockard is, and was at times material

 herein, a resident of Corbin, Kentucky, over the age of majority, and the wife of Plaintiff Barry

 Lockard.

      32. Plaintiff Bennie Swift is, and was at times material herein, a resident of Somerset,

 Kentucky, and over the age of majority. Plaintiff Sarah Beth Swift is, and was at times material

 herein, a resident of Somerset, Kentucky, over the age of majority, and the wife of Plaintiff

 Bennie Swift.

      33.   Plaintiff Cecil David Spurlock is, and was at times material herein, a resident of

 Manchester, Kentucky, and over the age of majority. Plaintiff Elaine M. Spurlock is, and was at

 times material herein, a resident of Manchester, Kentucky, over the age of majority, and the wife

 of Plaintiff Cecil David Spurlock.

      34.   Plaintiff Sean Lee Shupe is, and was at times material herein, a resident of Gray,

 Kentucky, and over the age of majority. Plaintiff Glenna Gail Shupe is, and was at times material

 herein, a resident of Gray, Kentucky, over the age of majority, and the wife of Plaintiff Sean Lee




                                                 6
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 7 of 20 - Page ID#: 440




                                                                   CASE NO. 6:06-CV-548 DCR


 Shupe.

      35.   Plaintiff Stephen Bush is, and was at times material herein, a resident of Manchester,

 Kentucky, and over the age of majority. Plaintiff Lora Bush is, and was at times material herein,

 a resident of Gray, Kentucky, over the age of majority, and the wife of Plaintiff Stephen Bush.

      36.   Plaintiff Dora Keley is, and was at times material herein, a resident of London,

 Kentucky, and over the age of majority.

      37.   Plaintiff Humberto Alvarado is, and was at times material herein, a resident of

 London, Kentucky, and over the age of majority.

      38.   The Plaintiffs are hereinafter referred to as the Plaintiff workers or the Plaintiff

 spouses, as appropriate for the context.

      39. Defendant Unarco Material Handling, Inc. (“Unarco”) is, and at all times material

 was, a Tennessee corporation authorized to do business and doing business in the State of

 Kentucky, with its principal place of business in Tennessee. Defendant Unarco’s registered agent

 for service of process is CT Corporation System, 800 South Gay Street, Suite 2021, Knoxville,

 Tennessee 37929-9710.

      40.   Defendant Unarco is subject to personal jurisdiction in this state pursuant to

 §454.210(2)(a), Ky. Stat. as this claim arises from Defendant Unaraco’s transacting business in

 this Commonwealth, contracting to supply services or goods in this Commonwealth, and causing

 tortious injury by an act or omission in this Commonwealth, all as alleged in more detail below.




                                                 7
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 8 of 20 - Page ID#: 441




                                                                    CASE NO. 6:06-CV-548 DCR


      41.   Defendant Atlas Material Handling, Inc. (“Atlas”) is, and at times material was, a

 California corporation authorized to do business and doing business in the State of Kentucky,

 with its principal place of business in Illinois. Defendant Atlas’ registered agent for service of

 process is ‘Corporation Service Company which will do business in California as CSC-Lawyers

 Incorporating Service,’ P.O. Box 526036, Sacramento, California 95852-6036.

      42.   Defendant Atlas is subject to personal jurisdiction in this state pursuant to

 §454.210(2)(a), Ky. Stat. as this claim arises from Defendant Atlas’ transacting business in this

 Commonwealth, contracting to supply services or goods in this Commonwealth, and causing

 tortious injury by an act or omission in this Commonwealth, all as alleged in more detail below.

      43.   Venue is proper in Laurel County, Kentucky pursuant to §454.210(4) in that

 Plaintiffs’ cause of action arose in Laurel County.

                                  FACTUAL ALLEGATIONS

      44.   At times material herein, the Plaintiff workers were employees of Wal-Mart Stores,

 Inc. (“Wal-Mart”) working at the Wal-Mart Distribution Center 6097 (the “Distribution Center”)

 located in the City of London in Laurel County, Kentucky.

      45.   The Plaintiff workers’ job at Wal-Mart included working inside a large, enclosed

 refrigerator/freezer building located at Wal-Mart which is used to store pallets of perishable

 foods on large systems of racks, which foods are distributed from the Distribution Center to fill

 orders placed by retail Wal-Mart stores. Employees, such as Plaintiffs, who worked in the

 Distribution Center would typically work long, busy shifts inside the refrigerator/freezer building

 in a below freezing environment, retrieving, moving, loading and unloading large quantities of




                                                  8
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 9 of 20 - Page ID#: 442




                                                                   CASE NO. 6:06-CV-548 DCR


 merchandise in order to perform Wal-Mart’s necessary distribution functions.

      46.    Wal-Mart wanted to purchase and have installed new rack systems for some of its

 distribution centers, including Distribution Center 6097.

      47.    Defendant Unarco entered into a Contractor’s Agreement with Wal-Mart Stores East,

 LP to provide and install rack systems and equipment at various Wal-Mart distribution centers

 (the “Unarco Contract”).

      48.    The distribution centers as to which Defendant Unarco was to provide and install the

 rack systems and equipment were, per the Unarco Contract, specified by purchase orders, and

 included Wal-Mart Distribution Center 6097 located in the City of London in Laurel County,

 Kentucky.

      49.    In addition to Defendant Unarco’s already existing duty to exercise due care in the

 performance of the work, pursuant to Paragraph 9 of the Unarco Contract, Defendant Unarco

 (specified therein as the “Contractor”) specifically undertook responsibility for safety, and for

 initiating, maintaining and supervising all safety programs and precautions in the performance

 and conditions of the work under the contract. Paragraph 9 of the Unarco Contract provides, in

 pertinent part:

        SAFETY REQUIREMENTS. Contractor is totally responsible for safety.
        Contractor shall be responsible for initiating, maintaining and supervising all
        safety programs and precautions with the Work. Contractor shall at all times
        comply with all federal, state and local laws, rules and regulations (including but
        not limited to OSHA) relating to work plan conditions and safety.

      50.    Defendant Unarco, upon information and belief, engaged the services of Defendant

 Atlas to assist Unarco in carrying out the work under its contract with Wal-Mart, and




                                                 9
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 10 of 20 - Page ID#: 443




                                                                       CASE NO. 6:06-CV-548 DCR


  specifically, with the work performed at Distribution Center 6097.

       51.    The work to be performed at Wal-Mart Distribution Center 6097 under the Unarco

  Contract was the provision and installation of new pallet rack systems, and the overhaul of

  existing pallet rack systems, with such work being performed inside the refrigerator/freezer

  building.

       52.    So as not to interrupt the ongoing daytime distribution operations taking place inside

  the refrigerator/freezer building, the work performed by the Defendants was conducted in night

  and early morning shifts lasting from 8 to 12 hours. Defendants were aware during the work at

  Distribution Center 6097 that after the Defendants’ crews worked inside the refrigerator/freezer

  building during the night and early morning hours, Wal-Mart employees, which included the

  Plaintiff workers, would then come in and work inside the refrigerator/freezer building all day,

  for long shifts, performing the normal functions of the Distribution Center.

       53.    The Defendants work was halted by Wal-Mart when Wal-Mart realized that its

  employees, including the Plaintiff workers, were suffering severe symptoms due to exposure to

  conditions inside the refrigerator/freezer building caused by the work being done by Defendants.

       54.    The work performed by the Defendants’ crew at Distribution Center 6097 involved

  the use of industrial cutting torches, including on painted metal, an extensive amount of welding,

  and the use and continuous running of at least two large, powerful generators, operated at times

  inside the building previously described.

       55.    Defendants Unarco and Atlas knew, or should have known, that the work activities of

  Defendants inside the refrigerator/freezer building would produce significant and dangerous




                                                  10
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 11 of 20 - Page ID#: 444




                                                                     CASE NO. 6:06-CV-548 DCR


  levels of colorless, odorless carbon monoxide which Wal-Mart workers inside the building

  would have no way of detecting during their long work shifts in the Distribution Center.

  Defendants Unarco and Atlas knew, or should have known, that the work would produce other

  dangerous and noxious gases and fumes. Defendants Unarco and Atlas knew, or should have

  known, that said work could only be safely performed with full monitoring for carbon monoxide

  and other dangerous gases, and with the powerful generators being operated only outside the

  building, rather than inside the building as they were operated during the work at Distribution

  Center 6097.

       56.   Despite the known dangerous and potentially lethal nature of the work, and despite

  Defendant Unarco’s responsibility, including its specific contractual undertaking, to supervise,

  monitor, and perform the work to ensure that it was safely performed so as not endanger those

  who would be exposed to the environment of the work, including the Plaintiff workers,

  Defendant Unarco failed to supervise, or tender supervision to, Defendant Atlas or the workers

  performing the work under the Unarco Contract, with regard to the safe and proper performance

  of the work, or to otherwise undertake proper precautions for safety.

       57.   Despite the known dangerous and potentially lethal nature of the work, and despite

  Defendant Atlas’ responsibility arising from the performance of the work, to supervise, monitor

  and perform the work to ensure that it was safely performed so as not endanger those who would

  be exposed to the environment of the work, including the Plaintiff workers, Defendant Atlas

  failed to supervise the workers performing the work under the Unarco Contract, with regard to

  the safe and proper performance of the work, or to otherwise undertake proper precautions for




                                                 11
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 12 of 20 - Page ID#: 445




                                                                     CASE NO. 6:06-CV-548 DCR


  safety.

       58.   Because Defendants Unarco and Atlas did not take reasonable steps to ensure that

  there was proper supervision over the performance of the work, or to ensure that the work area

  was properly ventilated, or to ensure that the equipment utilized in performing the work,

  including the generators, was used in a safe manner consistent with manufacturers’ safety

  information and applicable safety standards, or to ensure that the work could otherwise be safely

  performed, the work was performed in such a grossly negligent way that high levels of poisonous

  carbon monoxide and/or other dangerous and noxious gases and fumes were generated and

  released into the enclosed refrigerator/freezer building hour after hour and day after day by the

  activities of Defendants’ crews.

       59.   Unbeknownst to the Wal-Mart workers, including the Plaintiff workers, poisonous

  gases and fumes accumulated inside the refrigerator/freezer building, and Plaintiffs were

  repeatedly exposed to toxic levels of carbon monoxide and/or other noxious fumes and gases

  during the period that Defendants performed their work at the Distribution Center. These

  dangerous conditions existed over days and resulted in many hours of continuous exposure to

  high levels of carbon monoxide consistent with the cause of permanent injuries to the Plaintiff

  workers, who, along with the Plaintiff spouses, were the victims of Defendants’ failure to take

  proper safety precautions.

       60.   Defendants Unarco and Atlas did not provide any warning to the employees of Wal-

  Mart, including Plaintiffs, about the invisible, colorless, odorless, dangerous and poisonous gases

  and fumes which were present inside the refrigerator/freezer building as a result of the




                                                  12
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 13 of 20 - Page ID#: 446




                                                                    CASE NO. 6:06-CV-548 DCR


  Defendants’ grossly negligent work activities, and Plaintiffs continued to work long shifts in the

  Distribution Center in order to support themselves and their families and to accomplish their

  assigned work tasks.

       61.   During the time that Defendants’ work was being performed at Wal-Mart Distribution

  Center 6097, the Plaintiff workers, who had no warning or way of knowing that they were

  working in an environment poisoned with toxic gasses, began to exhibit symptoms that at first

  were thought by the employees to be associated with an outbreak of influenza. Their employer,

  Wal-Mart, ultimately realized that it had many ill employees, including Plaintiffs, and that the

  activities of Defendants Unarco and Atlas, including the running of powerful generators indoors,

  were causing the illnesses. Wal-Mart accordingly ordered the Defendants to stop their work

  activities in Distribution Center 6097 and to leave the premises. Without, and but for, the

  intervention of Wal-Mart, Defendants Unarco and Atlas would have continued their grossly

  negligent activities, and continued to pump poisonous gases into the work environment of the

  Wal-Mart employees, including the Plaintiff workers.

       62.   As a direct and proximate result of the exposure to carbon monoxide and/or other

  noxious fumes and gases inside the refrigerator/freezer building, the Plaintiff workers, and each

  of them, sustained severe and permanent injuries, including permanent brain damage.

       63.   The Plaintiffs have engaged the services of undersigned counsel in this matter and

  have agreed to pay a reasonable fee for counsel’s services.




                                                 13
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 14 of 20 - Page ID#: 447




                                                                     CASE NO. 6:06-CV-548 DCR


                                         COUNT I
                                CLAIM FOR NEGLIGENCE AND
                                    GROSS NEGLIGENCE

         Plaintiffs are adopt and reallege Paragraphs 1 through 63 as if fully set forth herein, and

  further allege as follows:

       64.   At all times material, Defendants Unarco and Atlas had a duty to exercise reasonable

  care for the health and safety of the Wal-Mart employees working inside the refrigerator/freezer

  building, including the Plaintiff workers.

       65.   In addition to its existing duty to exercise due care, Defendant Unarco, under the

  terms of the Unarco Contract, specifically undertook and assumed the duty and responsibility for

  safety, and for initiating, maintaining and supervising all safety programs and precautions in the

  performance and conditions of the work. Defendant Unarco was required to exercise due care in

  the performance of that duty in order to protect persons, including the Plaintiff workers whose

  authorized presence at the site of the work was foreseeable and known, who were in the

  foreseeable zone of risk of increased harm created by the failure of Defendant Unarco to exercise

  due care with regard to the invisible, poisonous gases created by their work, and who relied upon

  Defendant Unarco to do so.

       66.   Defendants Unarco and Atlas breached their duties of care to Plaintiffs through

  negligent acts and omissions which include the following:

             a. Defendants negligently, willfully and wantonly and with knowledge that Wal-

  Mart workers, including the Plaintiff workers, would be working inside the refrigerator/freezer

  building during the course of their work, failed to perform proper inspections or safety surveys of




                                                  14
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 15 of 20 - Page ID#: 448




                                                                    CASE NO. 6:06-CV-548 DCR


  the refrigerator/freezer building prior to commencing the work in order to determine that there

  were no unreasonably dangerous conditions associated with the building, and in order to evaluate

  whether the ventilation in the building was adequate to accommodate the carbon monoxide and

  other dangerous fumes that their work would generate;

             b. Defendant Unarco wilfully and wantonly and with knowledge that Wal-Mart

  workers, including the Plaintiff workers, would be working inside the refrigerator/freezer

  building during the course of their work, failed to provide supervision over the work to ensure it

  was safely performed, and failed to initiate, maintain or supervise any safety plan for the

  performance of the work, and failed to monitor the work as it was performed to ensure that it was

  safely performed;

             c. Defendant Unarco negligently, willfully and wantonly failed to properly evaluate

  or monitor the personnel on the job, including the personnel of Defendant Atlas, to ensure that

  the personnel was properly trained, skilled and experienced for the safe performance of the work

             d. Defendant Atlas negligently, willfully and wantonly and with knowledge that

  Wal-Mart workers, including the Plaintiff workers, would be working inside the

  refrigerator/freezer building during the course of their work, failed to provide supervision over

  the work to ensure it was safely performed, and failed to initiate, maintain or supervise any

  safety plan for the performance of the work;

             e. Defendants, prior to commencing the work, negligently, willfully and wantonly,

  failed to obtain any expert engineering advice on how to safely perform the work at Distribution

  Center 6097 despite having engineering resources available for such advice;




                                                 15
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 16 of 20 - Page ID#: 449




                                                                   CASE NO. 6:06-CV-548 DCR


             f. Defendants negligently, willfully and wantonly and with knowledge that Wal-

  Mart workers, including the Plaintiff workers, would be working inside the refrigerator/freezer

  building during the course of their work, failed to make any provisions to monitor the level of

  carbon monoxide and other dangerous gasses inside the refrigerator/freezer building during the

  course of the work;

             g. Defendants negligently, willfully and wantonly failed to read and/or abide by the

  manufacturers’ safety manuals and instructions for the proper operation of the generators and

  other equipment which was utilized by Defendants in performing the work;

             h. Defendants negligently, willfully and wantonly failed to adhere to applicable

  safety standards in the performance of the work;

             i. Defendants negligently, willfully and wantonly failed to properly train the

  workers performing Defendants’ work inside the refrigerator/freezer building or to ensure that

  the work was performed by properly trained, skilled and experienced workers, despite the

  dangerous and potentially lethal nature of the work;

             j. Defendants negligently, willfully and wantonly continuously operated the

  generators inside the refrigerator/freezer building, rather than outside as required for safe

  operation, resulting in the pumping of poisonous, lethal gasses into the environment of the

  Plaintiff workers, hour after hour;

             k. Defendants negligently, willfully and wantonly failed to keep, maintain and/or use

  their equipment in a safe and proper manner so as not to expose the Wal-Mart employees,

  including the Plaintiff workers herein, to dangerous and noxious gases and fumes;




                                                 16
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 17 of 20 - Page ID#: 450




                                                                        CASE NO. 6:06-CV-548 DCR


                l. Defendants negligently, willfully and wantonly failed to warn the Wal-Mart

  employees, including Plaintiffs herein, of the dangerous conditions inside the refrigerator/freezer

  building which were known to Defendants or which should have been known to Defendants had

  Defendants been acting with due care;

                m. Defendants negligently, willfully and wantonly failed to take reasonable

  precautions to protect the Wal-Mart employees, including the Plaintiff workers, from harm;

                n. Defendants negligently, willfully and wantonly failed to provide appropriate

  protective equipment and/or devices that would prevent injury to the Plaintiff workers herein

  from dangerous conditions inside the refrigerator/freezer building;

                o. Defendants negligently, willfully and wantonly failed to use reasonable care in

  connection with providing ventilation of the refrigerator/freezer building during the course of

  their work;

                p. Defendants negligently, willfully and wantonly failed to comply with applicable

  regulations and safety requirements as to proper use of their equipment and the performance of

  their work;

                q. Defendants negligently, willfully and wantonly failed to monitor the levels of

  poisonous gasses in the refrigerator/freezer building during the course of the work, and to

  evaluate and monitor the cumulative build-up of such gasses from working in the

  refrigerator/freezer building and running the generators inside, day after day;

                r. Defendants negligently, willfully and wantonly failed to conduct safety meetings

  with Wal-Mart during the course of the work to evaluate and monitor whether the work was




                                                  17
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 18 of 20 - Page ID#: 451




                                                                      CASE NO. 6:06-CV-548 DCR


  having an adverse impact on Wal-Mart employees working in the refrigerator/freezer building,

  including the Plaintiff workers;

             s. Defendants negligently, willfully and wantonly failed to halt their operations, or

  to modify their operations such that they would be performed in a safe manner, when the

  Plaintiff workers began to exhibit symptoms of exposure to poisonous and toxic gases during the

  course of the work.

       67.   The acts and omissions of Defendants Unarco and Atlas constitute negligence and

  gross negligence and were undertaken with a reckless disregard for the lives and safety of the

  Wal-Mart employees, including the Plaintiff workers and the Plaintiff spouses.

       68.   As a direct and proximate result of the negligence and wrongful acts of Defendants

  Unarco and Atlas, the Plaintiff workers, and each of them, suffered grievous harm and bodily

  injury and are severely and permanently injured.

       69.   As a direct and proximate result of the negligence of Defendants, the Plaintiff

  workers, and each of them, are permanently injured, have incurred and will in the future incur

  medical expenses for the treatment of their injuries, have in the past and/or will in the future

  incur a loss of earnings and earning capacity; have in the past and will in the future suffer severe

  and permanent bodily injuries; have in the past and will in the future suffer from physical and

  mental anguish; and have in the past and will in the future suffer from humiliation and

  embarrassment.

       WHEREFORE the Plaintiffs, and each of them, pray for judgment against Defendants, for

  compensatory damages, punitive damages, reasonable attorney’s fees, costs and disbursements,




                                                  18
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 19 of 20 - Page ID#: 452




                                                                       CASE NO. 6:06-CV-548 DCR


  together with statutory interest on all accrued claims, and further pray for such other relief as this

  Court may deem just and proper.

                                            COUNT II
                                      LOSS OF CONSORTIUM

       Plaintiffs adopt and reallege Paragraphs 1 through 69, and further allege as follows:

       70.   As a further direct and proximate result of the negligence of the Defendants, the

  Plaintiff spouses, and each of them, have in the past, and will in the future suffer damages from

  losses of their husbands’ society, services, income, consortium, and companionship.

       WHEREFORE the Plaintiffs demand judgment against the Defendants for the Plaintiff

  spouses for compensatory damages, punitive damages, reasonable attorneys’ fees, costs and

  disbursements, together with statutory interest on all accrued claims, and such other relief as this

  Court may deem just and proper.




                                                   19
Case: 6:06-cv-00548-ART-EBA Doc #: 63 Filed: 07/17/07 Page: 20 of 20 - Page ID#: 453




                                                                       CASE NO. 6:06-CV-548 DCR


                                  DEMAND FOR JURY TRIAL

      Plaintiffs demand trial by jury of all issues so triable of right.




                                                        Respectfully submitted,

                                                        HERREN & ADAMS LAW OFFICE
                                                        148 North Broadway
                                                        Lexington, Kentucky 40507-1229
                                                        Telephone (859) 254-0024
                                                        Facsimile (859) 254-5991
                                                                    -and-
                                                        RUSSO APPELLATE FIRM, P.A.
                                                        6101 Southwest 76th Street
                                                        Miami, Florida 33143
                                                        Telephone (305) 666-4660
                                                        Facsimile (305) 666-4470
                                                             -and-
                                                        DON RUSSO, P.A.
                                                        7990 Red Road
                                                        Miami, Florida 33143
                                                        Telephone (305) 665-7171
                                                        Facsimile (305) 665-7146

                                                        Counsel for Plaintiffs


                                                        By:
                                                              DON RUSSO
                                                              Florida Bar No. 183780




                                                   20
